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               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )
      v.                                    )      CR. NO. 2:94cr62-MHT
                                            )             WO
OSCAR ANDREWS                               )

                                ORDER ON MOTION

      Upon consideration of the motion for release of specific documents filed by

defendant Oscar Andrews on February 9, 2006 (Doc. # 1877), it is

      ORDERED that the motion be and is hereby DENIED. All of these records are

public records and may be obtained by Andrews from the respective courts by paying to the

clerks of those courts the required document copying fees.

      Done this 8th day of March, 2006.



                                       /s/Charles S. Coody
                                  CHARLES S. COODY
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
